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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

                                                        §
   CXT SYSTEMS, INC.,                                   §
                                                        §      Case No. 2:18-cv-00171-RWS-RSP
                          Plaintiff,                    §
                                                        §              (LEAD CASE)
                 v.                                     §
                                                        §
   ACADEMY, LTD., d/b/a ACADEMY                         §
   SPORTS + OUTDOORS,                                   §
                                                        §
   PIER 1 IMPORTS, INC.,                                §      Case No. 2:18-cv-00172-RWS-RSP
   THE CONTAINER STORE GROUP, INC.                      §      Case No. 2:18-cv-00173-RWS-RSP
   CONN’S, INC.,                                        §      Case No. 2:18-cv-00231-RWS-RSP
   FOSSIL GROUP, INC.,                                  §      Case No. 2:18-cv-00232-RWS-RSP
   J. C. PENNEY COMPANY, INC.,                          §      Case No. 2:18-cv-00233-RWS-RSP
   STAGE STORES, INC.,                                  §      Case No. 2:18-cv-00234-RWS-RSP
   TAILORED BRANDS, INC.,                               §      Case No. 2:18-cv-00235-RWS-RSP
                                                        §
                          Defendants.                   §        (CONSOLIDATED CASES)
                                                        §

                      FIRST AMENDED DOCKET CONTROL ORDER

         It is hereby ORDERED that the following schedule of deadlines is in effect until further
  order of this Court:

               Current                                            Deadline
                Date

      February 18, 2020                *Jury Selection – 9:00 a.m. in Marshall, Texas
                                       before Judge Robert W. Schroeder

      January 23, 2020                 *Pretrial Conference – 9:00 a.m. in Marshall, Texas before
                                       Judge Roy S. Payne

      January 16, 2020                 *Notify Court of Agreements Reached During Meet and
                                       Confer

                                       The parties are ordered to meet and confer on any
                                       outstanding objections or motions in limine. The parties
                                       shall advise the Court of any agreements reached no later
                                       than 1:00 p.m. three (3) business days before the pretrial

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                            conference.




      January 14, 2020     *File Joint Pretrial Order, Joint Proposed Jury Instructions, Jo
                           Proposed Verdict Form, Responses to Motions in Limine,
                           Updated Exhibit Lists, Updated Witness Lists, and Updated
                           Deposition Designations



      January 7, 2020       *File Notice of Request for Daily Transcript or Real Time
                            Reporting.

                           If a daily transcript or real time reporting of court
                           proceedings is requested for trial, the party or parties making
                           said request shall file a notice with the Court and e-mail the
                           Court Reporter, Shelly Holmes, at
                           shelly_holmes@txed.uscourts.gov.
     December 31, 2019     File Motions in Limine
                           The parties shall limit their motions in limine to issues that if
                           improperly introduced at trial would be so prejudicial that the
                           Court could not alleviate the prejudice by giving appropriate
                           instructions to the jury.

     December 31, 2019     Serve Objections to Rebuttal Pretrial Disclosures


     December 17, 2019     Serve Objections to Pretrial Disclosures; and Serve Rebuttal
                           Pretrial Disclosures
     December 10, 2019     Serve Pretrial Disclosures (Witness List, Deposition
                           Designations, and Exhibit List) by the Party with the Burden
                           of Proof
     November 12, 2019     *File Motions to Strike Expert Testimony (including
                           Daubert
                           Motions)
                           No motion to strike expert testimony (including a Daubert
                           motion) may be filed after this date without leave of the
                           Court.



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     November 12, 2019     *File Dispositive Motions
                           No dispositive motion may be filed after this date without
                           leave of the Court.
                           Motions shall comply with Local Rule CV-56 and Local
                           Rule CV-7. Motions to extend page limits will only be
                           granted in exceptional circumstances. Exceptional
                           circumstances require more than agreement among the
                           parties.
     November 12, 2019     Deadline to Complete Expert Discovery


     October 22, 2019      Serve Disclosures for Rebuttal Expert Witnesses


     October 1, 2019       Deadline to Complete Fact Discovery and File Motions to
                           Compel Discovery
     October 1, 2019       Serve Disclosures for Expert Witnesses by the Party with the
                           Burden of Proof
     October 1, 2019       **Final Election of Asserted Prior Art


     September 3, 2019     **Final Election of Asserted Claims


     August 29, 2019       Deadline to Complete Mediation

                           The parties are responsible for ensuring that a mediation
                           report is filed no later than 5 days after the conclusion of
                           mediation.
     August 22, 2019       Comply with P.R. 3-7 (Opinion of Counsel Defenses)


     August 1, 2019        *Claim Construction Hearing – 9:00 a.m. in Marshall, Texas
                           before Judge Roy S. Payne
     July 18, 2019         *Comply with P.R. 4-5(d) (Joint Claim Construction Chart)


     July 11, 2019         *Comply with P.R. 4-5(c) (Reply Claim Construction Brief)


     June 28, 2019         Comply with P.R. 4-5(b) (Responsive Claim Construction
                           Brief)
     June 12, 2019         Comply with P.R. 4-5(a) (Opening Claim Construction
                           Brief) and Submit Technical Tutorials (if any)



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                                   Good cause must be shown to submit technical tutorials after
                                   the deadline to comply with P.R. 4-5(a).
     June 20, 2019                 Deadline to Substantially Complete Document Production
                                   and Exchange Privilege Logs

                                   Counsel are expected to make good faith efforts to produce
                                   all required documents as soon as they are available and not
                                   wait until the substantial completion deadline.
     June 6, 2019                  Comply with P.R. 4-4 (Deadline to Complete Claim
                                   Construction Discovery)
     May 30, 2019                  File Response to Amended Pleadings


     May 16, 2019                  *File Amended Pleadings

                                   It is not necessary to seek leave of Court to amend pleadings
                                   prior to this deadline unless the amendment seeks to assert
                                   additional patents.
     May 16, 2019                  Comply with P.R. 4-3 (Joint Claim Construction Statement)

                                   **With respect to U.S. Patent Nos. 6,493,703, 6,571,234 and
                                   RE45,661 (“Knight Patents”) for Defendant Academy, Ltd.
                                   d/b/a Academy Sports + Outdoors only
     May 9, 2019                   Comply with P.R. 4-3 (Joint Claim Construction Statement)


       (*) indicates a deadline that cannot be changed without showing good cause. Good cause is
       not shown merely by indicating that the parties agree that the deadline should be changed.

       (**) indicates a new deadline


                                     ADDITIONAL REQUIREMENTS

              Notice of Mediator: The parties are to jointly file a notice that identifies the agreed
      upon mediator or indicates that no agreement was reached. If the parties do not reach an
      agreement, the Court will appoint a mediator. The parties should not file a list of mediators
      to be considered by the Court.

              Summary Judgment Motions, Motions to Strike Expert Testimony, and
      Daubert Motions: For each motion, the moving party shall provide the Court with two
      (2) copies of the completed briefing (opening motion, response, reply, and if applicable,
      surreply), excluding exhibits, in D-three-ring binders, appropriately tabbed. All
      documents shall be single-sided and must include the CM/ECF header. For expert-related
      motions, complete digital copies of the relevant expert report(s) and accompanying
      exhibits shall submitted on a single flash drive. These copies shall be delivered as soon as

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      briefing has completed.

              Indefiniteness: In lieu of early motions for summary judgment, the parties are
      directed to include any arguments related to the issue of indefiniteness in their Markman
      briefing, subject to the local rules’ normal page limits.

              Motions for Continuance: The following excuses will not warrant a continuance
      nor justify a failure to comply with the discovery deadline:

      (a)    The fact that there are motions for summary judgment or motions to dismiss pending;

      (b)    The fact that one or more of the attorneys is set for trial in another court on the
             same day, unless the other setting was made prior to the date of this order or was
             made as a special provision for the parties in the other case;
     .
      (c)    The failure to complete discovery prior to trial, unless the parties can demonstrate
             that it was impossible to complete discovery despite their good faith effort to do
             so.


              Amendments to the Docket Control Order (“DCO”): Any motion to alter any
      date on the DCO shall take the form of a motion to amend the DCO. The motion to amend
      the DCO shall include a proposed order that lists all of the remaining dates in one column
      (as above) and the proposed changes to each date in an additional adjacent column (if there
      is no change for a date the proposed date column should remain blank or indicate that it is
      unchanged). In other words, the DCO in the proposed order should be complete such that
      one can clearly see all the remaining deadlines and the changes, if any, to those deadlines,
      rather than needing to also refer to an earlier version of the DCO.

             Proposed DCO: The Parties’ Proposed DCO should also follow the format
      described above under
              SIGNED        “Amendments
                       this 3rd           to the 2012.
                                day of January,  Docket Control Order (‘DCO’).”

             SIGNED this 9th day of May, 2019.




                                                             ____________________________________
                                                             ROY S. PAYNE
                                                             UNITED STATES MAGISTRATE JUDGE




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